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Pe P.O.BOX 33170,
DETROIT, MI 48232 .

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SECRETARY OF THE STATE OF CONNECTICUT
30 TRINITY STREET
P.O, BOX 150470
HARTFORD, CT 06115-0470

NOTICE OF SERVICE OF PROCESS

09/25/2019

GENERAL MOTOR COMPANY
P,O.BOX 33170,

DETROIT, MI 48232

Re: LEONARD, MICHAEL A. V. GENERAL MOTOR COMPANY

To whom it may concern:

Legal process has been served on the Secretary of The State of Connecticut as the Statutory Agent for Service of
Process for

GENERAL MOTOR COMPANY

in the above referenced matter. Enclosed is a copy of the submission to this office.

Sincerely,
Denise W. Merrill
Secretary of the State of Connecticut

By: BLANCA OTERO

860-509-6003 i. r |
Dacke+ No |
Case #: 0000255659 A001
Mail Number: 7018 1830 0002 2354 5256 N H- C\- (4

Ene, SON O9-8
Case 3:19-cv-01682-SRU Documenti1-1_ Filed 10/25/19 Page 4 of 9

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a . ne » CIVIL STATE OF CONNECTICUT
C.G.S, §§ 51-348, 61-347, 54-249, §1-380, $2-45a, SUPERIOR COURT

52-48, 52-259, P.B, §§ 3-1 through 3-21, 8-1, 10-13 ;
www,jud.cf.gov

SECRETARY OF THE STATE

See other side for instructions

oO "X" if amount, legal interest or property in demand, nat including interest and
costs is less than $2,500.

"X" if amount, legal interast or property in demand, not including interest and Ac OM
Cy costs is $2,500 or mare, SEP 2 f 2019
(J "x" if claiming other relief in addition to or in lieu of money or damages. ECE

mi

TO: Any proper officer, BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby RECEIVED, and legal service of
this Summons and attached Complaint.

Address. of court clerk where writ and other papers shail be filed (Number, street, town and zip coda) | Telephone number of clark Return Date (Must be a Tuesday}
(C.G.S. §§ §1-346, 51-350) {with araa code)

235 Church Street, New haven, CT. 0651 1 (203) So2- bs OO uesmbe se. 4a 2014,
Judicial District O GA At (Town in which wnt is retumabie) (C.G,S. §§ 41-346, 51-349) Case type cade (See list on page 2)
Housing Session Number: New Haver Major: Vo Minor. 09

Far the Plaintiff(s) please enter the appearance of: .
Name and address of attomey, law firm or plaintiff f self-represented (Number, street, town and zip cada} Juris number (fo be entered by attamay only) -

Michael A. Leonard 900 Highland Avenue, Cheshire, CT. o6lt 0

Telephane number (with area code) Wels oe. "Lhe j

The attorney or law firm appearing for the plaintiff, or the plaintiff f Email address for delivery of papers under Sectian 10-13 (if agreed fo}

self-represented, agrees to accept papers (service) alactranically In C Yes [_KNo
this case under Section 10-13 of the Connecticut Practica Book.

Number of Plaintifis: 4 Number of Defendants: 4 [_] Form JD-CV-2 attached for additional parties
Parties Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O, Box; Town; State; Zip; Country, if nat USA)
First Name: ' : P.04
Plaintiff | Address: Leonard, Michael A. 900 Highland Avenue. Cheshire,CT. 06410
Additional | Name: : P.02
Plaintiff Address:
First Name: D-04
Defendant | Address: General Motor Company.P.0O. Box 33170 Detroit, MI. 48232
Additional Name: D-02
Defendant | Address:
Additionai Name: D-03
Defendant | Address: .
Additional Name: D-04

Defendant | Address:

Notice to Each Defendant

1, YOU ARE BEING SUED. This paper is a Summons in a fawsult, The complaint attached to these papers states the claims that each plaintiff is making
against you in this lawsuit.

2. To be notified of further praceedings, you or your attamey must file a farm called an "Appearance" with the clerk of the above-named Court at the above
Court address on or before the second day after the above Retum Date. The Return Date Is not a hearing date, Yau do not have to come te court an the
Retum Date unless you receive a separate notice telling you to come ta court.

3. If you or your attorney do not file a written “Appearance” form on time, a judgment may be entered against you by default, The "Appearance" form may be
obtained at the Court address above or at www.jud.ctgov under "Court Forms.”

4, If you believe that you have insurance that may cover the claim that is being made against you In this lawsuit, you should immediately contact your
Insurance representative. Other action you may have to take is described in the Cannectlcut Practice Book which may be found in a superior court law.
library or on-line at wwwjud.ct. gov under "Court Rules."

5. If ofl ayss questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to ave advice on
le stions. .
Signed (3!gn ang+X* proper box) L_ SieenGon afthe | Name of A116. mI at be fF sj hy
: \ Assistant Clerk if a ¢ L ‘ Fae ll9

If this Summons is signed by a Clerk: CAAT Far xf Use Only

a. The signing has been done so that the Plaintiff(s) will not be denied access to the courts. File Date .

b. It is the responsibility of the Plaintiff(s) to see that service is made in the manner provided by law. 4\\- . of

c. The Clerk is not permitted to give any legal advice in connection with any lawsuit. gto :

| Vy a\
d. The Clerk signing this Summons at the request of the Plaintiff(s) is not respansible in any way for any errors or omissions wr put ,O\
in the Summons, any allegations contained in the Complaint, or the service of the Summons or Camplaint. j i\ C

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| certify | have read and | Signgd (Sq#FRepipsenteqPlaintify Date DocketNumber :

understand the above: i, UE hone: R21 [2014 z LD?
(Page 1 af 2) (fp t7

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Instructions ,

1. Type or print legibly; sign summons.

2. Prepare ar photocopy a summons for each defendant. ney

3. Aitach the original summons to the original complaint, and attach a copy of the summons to each copy of the compiaint. Also, if there are
more than 2 plaintiffs or more than 4 defendants prepare form JD-CV-2 and attach it to the original and all capies of the complaint.

4, After service has been made by a proper officer, file original papers and officer's return with the clerk of court

5. Do nat use this form for the following actions:

(a) Family matters (for example divorce, child support, () Proceedings pertaining to arbitration
custody, palemity, and visitation matters) (g) Any actions or proceedings in which an attachment,
(b) Summary Process actions garnishment or replevy is sought
(¢) Appileations for change of name (h) Entry and Detainer proceedings
(a) Probate appeals ()) Housing Code Enforcement actions

(e) Administrative appeals

ADA NOTICE
The Judicial Branch of the State of Connecticut complies with the Americans with
Disabilities Act (ADA). If you need a reasonable accommodation in accordance with
the ADA, contact a court clerk or an ADA contact person listed at www,jud.ct gov/ADA.

Case Type Codes
Codes Codas
Major Description} Major/ Minor Description Major Description) Major/ - Minor Description
Minor Minar
Contracts CQO | Construction - All other Property P00 | Foreclosure
C10 = | Construction - State and Local P10 | Partition
© 20 | Insurance Policy P 20 Quiet Tite/Discharge of Mortgage or Lien
C30 = | Specific Performance P 3a Asset Forfeiture
C40 | Callactions P90 | Allother
C90 | Allother
Torts (Other than] 162 | Defective Premises « Private - Snow or Ice
Eminent Domain E00 | State Highway Condemnation Vehicular) TQ3 = | Defective Premises - Private - Other
E10 | Redevelopment Condemnation T1i Defective Premises = Public - Snow or Ice
E20 = | Other State or Municipal Agencies T12 ~~ | Defective Premises ~ Public - Other
E30 | Public Utilities & Gas Transmission Companies 720 = | Products Liability - Other than Vehicular
E90 | Allother 728° | Malpractice - Medical
T29 | Malpractice - Legal
Miscellaneous M00 | Injunction T30 | Malpractice - All other
M10 | Receivership T40 =| Assault and Battery
M20 | Mandamus T50 | Defamation
M30 | Habeas Corpus (extradition, release fram Penal T61 | Animals - Dog

Institution)

M40 | Arbitration

M50 | Declaratary Judgment

M63 | Bar Discipline

M&6 | Department of Labor Unamplayment Compensation

T69 Animals - Other
T70 False Arrest
T71 Fire Damage
T90 All other

Enforcement
igh Vehicular Torts V1 | Motor Vehicles* - Driver and/or Passenger(s) vs.
M68 | Bar Discipline - Inactive Status Driver(s}
M70 | Municipal Ordinance and Regulation Enforcement Vo4 | Motor Vehicles* - Pedestrian vs. Driver
MQ | Faraign Civil Judgments - C.G.S. 52-604 & C.G.S, V05 | Motor Vehicles* - Property Damage only
§0a-30

VOG | Motor Vehicle* - Products Liability Including Warranty

Small Claims Transfer to Regul
wee 3 ms Transier aapian Decent Vog Motor Vehicle* - All other . a kt

M 84 | Foreign Protective Order

Vv10 Boats
M90 | Allather
V20 | Airplanes
Housing H10 | Housing -Retum of Security Deposit V30 | Railroads
H12 | Hausing - Rent and/or Damages V40 | Snowmabiles
H4Q | Housing - Audita Querela/njunction V90 | All other
HQ | Housing - Administrative Appeal *Mator Vehicles include cars, trucks, matoreycles,
H60 | Housing - Municipal Enforcament and motor scoaters. '
H90 | Housing - All Other a
Wills, Estates W110 | Construction of Wills and Trusts
and Trusts Ws0 | All other

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(Page 2 of 2)
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VS. . J.D OF NEW HAVEN
GENERAL MOTOR : AT NEW HAVEN
COMPANY
RETURN DATE: DECEMBER 17, 2019 : AUGUST 21, 2019

COMPLAINT

1.Michael A. Leonard (Plaintiff) is filing a civil summoris.

2.0r or about January 5,2017 at approximately 9:21 a.m.
Plaintiff Leonard was driving in the left-harid lane
southbourid on I-95 betweer! exits 56 and 57 in Branford,
Connecticut.

3.0r said date, at said time. Plaintiff Leonard was the
operator of a 2007 Chevrolet Cobalt LT model vehicle
manufactured by the General Motor Compary out of Detroit,
Michigan.

4.Plaintiff Leonard collided with the Jersey Barrier at
about 40-45 mph. Causing the left front driver side of
said vehicle to be damaged substantially enough to rerider
the vehicle "totalled’

5.The above-mentioned collision revealed manufacturing
flaws in the following ways:

A.The air bags never deployed upon impact.

B.The safety restraint (seat belt) failed to
prevent Plaintiff Leonard from impacting the
steering wheel.

6.As a result of the above-meritioned collision and negligence
and carelessness of the General Motor Company by installing

an air bag and safety restraint system that was later recalled
and not notifying Plaintiff Leonard, General Motor Company is
in Violation of both Section:14-106d. and Section:14-100a.

of the Connecticut General Statutes. As well as violating
Federal Safety Requirements provided in 49 CFR 571.208. as well
as 49 CFR 571.209. Plaintiff Leonard suffered substantial
injuries in the following ways:
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MICHAEL A. LEONARD, : \ JPERIOR COURT
VS. ' 7 J.D OF NEW HAVEN
GENERAL MOTOR : AT NEW HAVEN
COMPANY
RETURN DATE: DECEMBER 17,2019 : AUGUST 21,2019

COMPLAINT

A.From the physical collision to the steering wheel
the Plaintiff Leonard suffers from migraines,as well
as a permanant painful bite and discomforting
serisitivity to cold and heat.

B.Emotional trauma exasperating a previously diagnosed
Post Traumatic Stress Disorder,as well as a Generalized
Anxiety Disorder and Depression.

7.AS a result of Gerteral Motor Company's negligence, Plaintiff
Leonard is seeking damages in the sum of $1,250,000.00 as well
as two replacemerit vehicles, one each of my choosing a truck
and a car.

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Case 3:19-cv-01682-SRU Documenti-1 Filed 10/25/19 Page 8 8 of 9

'* «MICHAEL A. LEONARD | : SU; %IOR
vSi 0 : J.D OF NEW HAVEN
GENERAL MOTOR : AT NEW HAVEN
COMPANY
RETURN DATE: DECEMBER 17,2019 : AUGUST 21,2019

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff claims:

1.Money Damages;
2.Vehicle replacements

3.Costs

4.Such other and further relief as may be
equitable and proper.

Plaintiff 1d... A. bel

cool @f21(14
By: Michael A. sae
Michael A. Leonard #355611

900 Highland Avenue E2-30
Cheshire, CT. 06410
Case 3:19-cv-01682-SRU Documenti1-1_ Filed 10/25/19 Page 9of9

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Business Inquiry
Business Details

Business Name: GENERAL MOTORS COMPANY Citizenship/State Inc: Forelgn/DE
Business 1D: 0974818 Last Report Filed Year. NONE
300 RENAISSANCE CENTER, DETRIOT, MI, Business Type: Stock

Business Address: 43265

Mailing Address: oe CENTER, DETRIOT, Ml, Business Status: Withdrawn

Date Inc/Registration: Jun 26, 2009 Name in State of INC. GENERAL MOTORS COMPANY

Commence Business
Date: Jul 06, 2009

Annual! Report Due Date: 06/26/2010

Principals Details
Name/Title Business Address Residence Address

DAVID MARKOWITZ PRES = DO RENASANCE CENTER, DETROIT. Ml, 25 WEST 74D STREET, #507, NEW YORK, NY, 10023

SADIQ MALIK VIGE PRES. ee DETROIT. Mi, 395 £ 40TH STREET,.#228, NEW YORK, NY, 10016

SADIQ MALIK TREAS. Seoes oe) NCE CENTER, DETROIT. Ml, 295 &, 40TH STREET, #228, NEW YORK, NY, 10016

Agent Summary
Agent Name SECRETARY OF THE STATE

Agent Business Address 30 TRINITY STREET, HARTFORD, CT, 08106-0470

’ Agent Residence Address NONE
